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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

   DOE et al,                                                    )
   Plaintiff,                                                    )
                                                                 ) No. 3:22-CV-00049
   v.                                                            )
                                                                 )
   MAST et al,                                                   )
   Defendant.                                                    )
                                                                 )


        ORDER GRANTING PRO HAC VICE ADMISSION OF BLAIR CONNELLY

         Upon consideration of the Motion for Pro Hac Vice Admission of Blair Connelly, it is

  hereby ORDERED that the motion is GRANTED.

         Blair Connelly is admitted pro hac vice to appear and participate on behalf of Plaintiffs in

  the above-captioned matter.

  IT IS SO ORDERED.


  Date: _______________                                ________________________
                                                       United States District Court
                                                       Western District of Virginia
